                                                                                                  FILED
                                                                                       U.S. DIS TRIC T COURT
                                                                                      DISTRICT OF NEOR/\ SK A
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA                             ZGZI OCT 20 PH12: 28
UNITED STATES OF AMERICA,                                                             OFFICE OF THE CLERK
                       Plaintiff,                                       8:21CR& +

       vs.                                                         INDICTMENT
                                                                   21 U.S.C. § 846
ALFREDO ESCOBAR,                                            21 U.S.C. § 841(a)(l) & (b)(l)

                       Defendant.



       The Grand Jury charges that:

                                             COUNT!

       Beginning on or about August 3, 2020 and continuing to on or about June 11 , 2021 , in the

District of Nebraska, Defendant ALFREDO ESCOBAR did knowingly and intentionally

combine, conspire, confederate, and agree with other person(s) to distribute and possess with

intent to distribute 50 grams or more of methamphetamine (actual), its salts, isomers, and salts of

its isomers, a Schedule II controlled substance, in violation of Title 21 , United States Code,

Sections 841(a)(l) and 841(b)(l).

       In violation of Title 21 , United States Code, Section 846.

       Before ALFREDO ESCOBAR committed the offense charged in this Count, he had a

final conviction for a serious drug felony, namely, a conviction under 21 U.S.C. § 846 for which

he served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.




                                                 1
                                              COUNT II

        On or about August 3, 2020, in the District of ebraska, Defendant ALFREDO

ESCOBAR did knowingly and intentionally distribute 5 grams or more of methamphetamine

(actual), its salts, isomers, and salts of its isomers, a Schedule II controlled substance.

        In violation of Title 21 , United States Co,de, Section 841(a)(l) and Title 21 , United States

Code, Section 841 (b)(1 ).

       Before ALFREDO ESCOBAR committed the offense charged in this Count, he had a

final conviction for a serious drug felony, namely, a conviction under 21 U.S. C. § 846 for which

he served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.

                                             COUNT III

       On or about June 1, 2021 , in the District of ebraska, Defendant ALFREDO ESCOBAR

did knowingly and intentionally distribute 50 grams or more of methamphetamine (actual), its

salts, isomers, and salts of its isomers, a Schedule II controlled substance.

       In violation of Title 21 , United States Code, Section 841 (a)(l) and Title 21 , United States

Code, Section 841 (b)(1 ).

       Before ALFREDO ESCOBAR committed the offense charged in this Count, he had a

final conviction for a serious drug felony , namely, a conviction under 21 U.S .C. § 846 for which

he served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.




                                                   2
                                           COUNT IV

       On or about June 11, 2021, in the District of Nebraska, Defendant ALFREDO

ESCOBAR did knowingly and intentionally possess with intent to distribute 50 grams or more of

methamphetamine (actual), its salts, isomers, and salts of its isomers, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Section 841(a)(l) and Title 21, United States

Code, Section 841(b)(l).

       Before ALFREDO ESCOBAR committed the offense charged in this Count, he had a

final conviction for a serious drug felony, namely, a conviction under 21 U.S.C. § 846 for which

he served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.




                                                     A TRUE BILL.




                                                     FORE'P-ERSON



       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




                                                 THOMAS J.         GIR
                                                 Assistant United States Attorney




                                                3
